               Case 2:23-cv-01407-JHC Document 60 Filed 05/16/24 Page 1 of 3




1                                                                   The Honorable John H. Chun
                                                                The Honorable David W. Christel
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6
7                          UNITED STATES DISTRICT COURT FOR THE
8                            WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
9
                                                            No. C23-1407-JHC-DWC
       MAHSA PARVIZ,
10
                                              Petitioner,   RESPONDENT’S SUPPLEMENT TO
11                                                          RECORD
                    v.
12
       HOWARD C. BARRON (Warden,
13     Federal  Detention Center  SeaTac),
       COLETTE PETERS (Director, Bureau of
14     Prisons,
15                                            Respondent.
16
            On May 16, 2024, the Court entered an Order Directing Respondent to Supplement
17
     the Record with an updated sentence computation and First Step Act (FSA) time credit
18
     assessment. Dkt. 59. Respondent hereby submits Exhibits 3 and 4, an updated FSA Time
19
     Credit Assessment and Sentence Computation for Mahsa Parviz.
20
            Exhibit 3 is an updated FSA Time Credit Assessment, current as of May 7, 2024,
21
     which shows that Parviz continues to be assessed as a high risk to recidivate. She has
22
     earned a total of 200 days of FSA credits that she may not apply toward early release to
23
     supervision until she reduces her recidivism risk and meets the other requirements laid out
24
     in 18 U.S.C. § 3624(g)(1).
25
            Exhibit 4 is an updated Sentence Computation, which projects Parviz’s release date
26
     with good conduct time as January 3, 2026. If Parviz were eligible to have her FSA credits
27
      Respondent’s Supplement to Record — 1                           UNITED STATES ATTORNEY
      Parviz v. Barron, C23-1407-JHC-DWC                             700 STEWART STREET, SUITE 5220
                                                                       SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
              Case 2:23-cv-01407-JHC Document 60 Filed 05/16/24 Page 2 of 3




1 applied to her sentence, it would advance her release to a date in June 2025. Parviz thereby
2 does not have an immediate concrete injury that would be redressed by her request that her
3 FSA credits be immediately applied, because any ruling by this Court will have no impact
4 on her current custody status.
5          For this reason, and the other reasons discussed in the answer to the petition,
6 Parviz’s claim regarding FSA credits is not yet ripe and should be dismissed as non-
7 justiciable.
8                  DATED this 16th day of May, 2024.
9                                                   Respectfully submitted,
10
                                                    TESSA M. GORMAN
11                                                  United States Attorney
12
                                                    s/ Lyndsie R. Schmalz
13                                                  LYNDSIE R. SCHMALZ
                                                    Assistant United States Attorney
14
                                                    700 Stewart Street, Suite 5220
15                                                  Seattle, WA 98101-1271
                                                    Telephone: (206) 553-2687
16                                                  Fax:          (206) 553-0755
17                                                  Email: lyndsie.r.schmalz@usdoj.gov

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     Respondent’s Supplement to Record — 2                        UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                          700 STEWART STREET, SUITE 5220
                                                                   SEATTLE, WASHINGTON 98101
                                                                         (206) 553-7970
              Case 2:23-cv-01407-JHC Document 60 Filed 05/16/24 Page 3 of 3




1                                   CERTIFICATE OF SERVICE
2          I hereby certify that on May 16, 2024, I electronically filed the foregoing with the
3 Clerk of the Court using the CM/ECF system, and to be served on the Defendant, Mahsa
4 Parviz, who is proceeding pro se, by First Class Mail to the following address:
5
6          Mahsa Parviz, Registration No. 54652-509
           FCI Tallahassee
7          Federal Correctional Institution
8          P.O. Box 5000
           Tallahassee, FL 32314
9
10
11
                                                      s/ John M. Price
12                                                   JOHN M. PRICE
                                                     Paralegal Specialist
13                                                   United States Attorney’s Office
14                                                   700 Stewart Street, Suite 5220
                                                     Seattle, Washington 98101
15                                                   Phone: (206) 553-7970
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     Respondent’s Supplement to Record — 3                         UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                           700 STEWART STREET, SUITE 5220
                                                                    SEATTLE, WASHINGTON 98101
                                                                          (206) 553-7970
